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                                   7                                  UNITED STATES DISTRICT COURT

                                   8                                 NORTHERN DISTRICT OF CALIFORNIA

                                   9                                        SAN JOSE DIVISION

                                  10
                                        OOO BRUNSWICK RAIL
                                  11    MANAGEMENT, et al.,                               Case No. 5:17-cv-00017-EJD

                                  12                   Plaintiffs,                        ORDER GRANTING IN PART AND
Northern District of California




                                                                                          DENYING IN PART PLAINTIFFS’ EX
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                                  13            v.                                        PARTE APPLICATION FOR SEIZURE
                                                                                          AND PRESERVATION ORDERS,
                                  14    RICHARD SULTANOV, et al.,                         EXPEDITED DISCOVERY,
                                                                                          TEMPORARY RESTRAINING ORDER,
                                  15                   Defendants.                        AND PRELIMINARY INJUNCTION
                                  16                                                      Re: Dkt. No. 3

                                  17          Plaintiffs OOO Brunswick Rail Management and Brunswick Rail Group Limited (together,

                                  18   “Brunswick”) allege that defendants Richard Sultanov and Paul Ostling misappropriated

                                  19   Brunswick’s confidential information. Complaint ¶¶ 31–48. Before the Court is Brunswick’s ex

                                  20   parte application for:

                                  21          (1) a seizure order under the Defend Trade Secrets Act (“DTSA”), 18 U.S.C. § 1836;

                                  22          (2) a seizure and preservation order under Fed. R. Civ. P. 64 and 65, the Court’s inherent

                                  23              authority, and the All Writs Act, 27 U.S.C. § 1651(a);

                                  24          (3) expedited discovery;

                                  25          (4) a temporary restraining order (“TRO”); and

                                  26          (5) an order to show cause why a preliminary injunction should not issue.

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                                   1          Dkt. No. 3. Brunswick’s motion will be GRANTED IN PART AND DENIED IN PART.

                                   2          I. BACKGROUND

                                   3          Defendants Sultanov and Ostling are former employees of Brunswick. Brief in Support of

                                   4   Plaintiffs’ Ex Parte Application (“Brief”) at 2–3, Dkt. No. 4. Brunswick alleges that both Sultanov

                                   5   and Ostling misappropriated trade secrets in November and December 2016. Id. at 5.

                                   6          After noticing “unusually secretive” behavior from Sultanov, Brunswick investigated his

                                   7   work email account and discovered that he had sent several confidential documents to his personal

                                   8   email account without authorization; he then deleted the sent messages and emptied his trash

                                   9   folder. Id. at 5–7, 9. The investigation further revealed that Sultanov had been communicating by

                                  10   phone with Ostling (who had since resigned from Brunswick) and a representative of one of

                                  11   Brunswick’s creditors, whom Sultanov was explicitly prohibited from contacting. Id. at 7. Ostling,

                                  12   too, received unauthorized confidential materials at his personal email account (via his former
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                                  13   personal assistant, who remained at Brunswick), which he then forwarded to the creditor’s

                                  14   representative and to Sultanov. Id. at 8. Sultanov also refuses to return a company-issued mobile

                                  15   phone and laptop. Id. at 1.

                                  16          Brunswick believes that Sultanov and Ostling “have already disclosed and plan to continue

                                  17   to disclose the trade secrets to creditors in order to disadvantage Brunswick in its ongoing

                                  18   negotiations” related to Brunswick’s debt restructuring. Id. at 1.

                                  19          II. DISCUSSION

                                  20          A. Preservation and Seizure

                                  21          Parties have a duty to preserve evidence once a complaint is filed. Echostar Satellite LLC

                                  22   v. Freetech, Inc., No. C-07-06124 JW, 2009 WL 8399038, at *2 (N.D. Cal. Jan. 22, 2009). To

                                  23   obtain an order imposing stricter preservation requirements, a party must make “some showing of

                                  24   a significant concern that potentially relevant evidence will be destroyed . . . .” Bright Sols. for

                                  25   Dyslexia, Inc. v. Doe 1, No. 15-CV-01618-JSC, 2015 WL 5159125, at *2 (N.D. Cal. Sept. 2,

                                  26   2015). To determine whether a preservation order is necessary, courts consider (1) threats to

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                                   1   preservation of the evidence, (2) irreparable harm likely to result to the party seeking preservation,

                                   2   and (3) the capability of the custodian to maintain the evidence sought to be preserved. Echostar,

                                   3   2009 WL 8399308, at *2.

                                   4          Brunswick has satisfied these three requirements. First, there is a risk that Sultanov and

                                   5   Ostling will delete relevant material from their email accounts, which are hosted by Google (for

                                   6   the address richard.sultanov@gmail.com) and Rackspace (for the address

                                   7   paul.ostling@pauljostling.com). There is also a risk that Google and Rackspace might delete

                                   8   material themselves (for instance, by automatically erasing emails that Sultanov or Ostling moved

                                   9   to their trash folders). See, e.g., Bright Sols., 2015 WL 5159125, at *3 (noting that under Google’s

                                  10   “regular business practices, user data is routinely destroyed within months after a user deletes that

                                  11   information”). Second, deletion of this material would cause irreparable harm to Brunswick.

                                  12   Third, it is within the reasonable capabilities of Google and Rackspace to preserve material
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                                  13   associated with Sultanov and Ostling’s accounts. Brunswick’s need for preservation is all the more

                                  14   acute because Rackspace and Google, as nonparties, have no obligation to preserve this

                                  15   information absent a court order. Id. at *3 (granting an order directing nonparties eBay, PayPal,

                                  16   and Google “to preserve documents, data, and records”).

                                  17          Brunswick also seeks an order directing seizure of information on Sultanov and Ostling’s

                                  18   digital accounts by requiring Google and Rackspace to deliver physical copies to the Court with

                                  19   assistance from the U.S. Marshals. Brief at 16–17. The Court finds that physical copies of the data

                                  20   are unnecessary because Google and Rackspace will be required to preserve the data under their

                                  21   own custody.

                                  22          Finally, Brunswick seeks an order under the DTSA to seize the company-issued laptop and

                                  23   mobile phone in Sultanov’s possession. The DTSA provides that a “court may, upon ex parte

                                  24   application but only in extraordinary circumstances, issue an order providing for the seizure of

                                  25   property necessary to prevent the propagation or dissemination of the trade secret that is the

                                  26   subject of the action” 18 U.S.C. § 1836(b)(2)(A)(i). A court may issue a seizure order only if,

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                                   1   among other requirements, an order under Fed. R. Civ. P. 65 or another form of equitable relief

                                   2   would be inadequate. 18 U.S.C. § 1836(b)(2)(A)(ii). Here, the Court finds that seizure under the

                                   3   DTSA is unnecessary because the Court will order that Sultanov must deliver these devices to the

                                   4   Court at the time of the hearing scheduled below, and in the meantime, the devices may not be

                                   5   accessed or modified.

                                   6           C. Expedited Discovery

                                   7           Courts may allow expedited discovery for good cause. Semitool, Inc. v. Tokyo Electron

                                   8   Am., Inc., 208 F.R.D. 273, 276 (N.D. Cal. 2002) (concluding that the “good cause” standard

                                   9   applies); see also MCGIP, LLC v. Does 1-26, No. 11-CV-03679 EJD, 2011 WL 3473808, at *2

                                  10   (N.D. Cal. Aug. 9, 2011) (“A court may authorize early discovery before the Rule 26(f)

                                  11   conference for the parties’ and witnesses’ convenience and in the interest of justice. . . . Courts

                                  12   within the Ninth Circuit generally consider whether a plaintiff has shown ‘good cause’ for the
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                                  13   early discovery.”) “Good cause may be found where the need for expedited discovery, in

                                  14   consideration of the administration of justice, outweighs the prejudice to the responding party.”

                                  15   Semitool, 208 F.R.D. at 276.

                                  16           Brunswick fails to show good cause because it does not adequately explain the need for

                                  17   expedited discovery. Brunswick may request expedited discovery in a separate motion.

                                  18           D. TRO and Preliminary Injunction

                                  19           The standards for issuing a TRO and preliminary injunction are the same. New Motor

                                  20   Vehicle Bd. of Cal. v. Orrin W. Fox Co., 434 U.S. 1345, 1347 n.2 (1977). A preliminary

                                  21   injunction is “an extraordinary remedy that may only be awarded upon a clear showing that the

                                  22   plaintiff is entitled to such relief.” Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 22

                                  23   (2008). The plaintiff must show (1) that it is likely to succeed on the merits, (2) that it is likely to

                                  24   suffer irreparable harm in the absence of preliminary relief, (3) that the balance of equities tips in

                                  25   its favor, and (4) that an injunction is in the public interest. Stormans, Inc. v. Selecky, 586 F.3d

                                  26   1109, 1127 (9th Cir. 2009).

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                                   1          A preliminary injunction is also appropriate if “serious questions going to the merits were

                                   2   raised and the balance of the hardships tips sharply in the plaintiff’s favor.” Alliance for the Wild

                                   3   Rockies v. Cottrell, 622 F.3d 1045, 1049 (9th Cir. 2010).

                                   4          “These formulations are not different tests but represent two points on a sliding scale in

                                   5   which the degree of irreparable harm increases as the probability of success on the merits

                                   6   decreases.” Big Country Foods, Inc. v. Board of Educ. of the Anchorage Sch. Dist., 868 F.2d

                                   7   1085, 1088 (9th Cir. 1989). But “[u]nder either formulation, the moving party must demonstrate a

                                   8   significant threat of irreparable injury, irrespective of the magnitude of the injury.” Id.

                                   9          Brunswick has satisfied the requirements for a TRO. First, Brunswick has shown that it

                                  10   will likely succeed on the merits of its trade secrets claims. Brunswick’s evidence shows that

                                  11   Sultanov and Ostling improperly disseminated confidential information—e.g., by emailing

                                  12   documents to their personal accounts and then sending that information to third parties. That
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                                  13   information likely constituted protectable trade secrets under the California Uniform Trade Secrets

                                  14   Act, Cal. Civ. Code § 3426.1. Second, Brunswick has shown that it will likely suffer irreparable

                                  15   harm if the Court does not grant injunctive relief. Dissemination of the confidential information to

                                  16   Brunswick’s creditors, competitors, and adverse parties in arbitration would cause Brunswick

                                  17   irreparable harm. Finally, the balance of equities weighs in Brunswick’s favor, and a TRO would

                                  18   serve the public interest.

                                  19          In addition, an ex parte TRO application must satisfy Fed. R. Civ. P. 65(b)(1), under which

                                  20   a TRO may issue only if “the movant’s attorney certifies in writing any efforts made to give notice

                                  21   and the reasons why it should not be required.” The declaration of Gabriel M. Ramsey in support

                                  22   of Brunswick’s application states that “notice would render the requested relief ineffective” and

                                  23   that district courts in the Ninth Circuit have granted relief in similar circumstances. Dkt. No. 6 at

                                  24   1–2.

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                                   1          E. Service by Mail, Email, and Facsimile

                                   2          The Court declines to adopt Brunswick’s proposed order for alternative means of service

                                   3   without a showing that such means are necessary.

                                   4          III. ORDER

                                   5          Brunswick’s application is GRANTED IN PART AND DENIED IN PART. The Court

                                   6   orders that:

                                   7          1.      Within 72 hours of receiving this Order, Rackspace Hosting, Inc. and/or Rackspace

                                   8   US, Inc. shall preserve all data associated with the account paul.ostling@pauljostling.com. Within

                                   9   seven days of preservation, Rackspace Hosting, Inc. and/or Rackspace US, Inc. shall notify the

                                  10   Court in writing that preservation has occurred.

                                  11          2.      Within 72 hours of receiving this Order, Google, Inc. shall preserve all data

                                  12   associated with the account richard.sultanov@gmail.com. Within seven days of preservation,
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                                  13   Google, Inc. shall notify the Court in writing that preservation has occurred.

                                  14          3.      Plaintiffs shall facilitate service of copies of this Order by delivery to the registered

                                  15   California agents for service of process for Google, Inc., Rackspace Hosting, Inc., and Rackspace

                                  16   US, Inc., with email copies to their in-house legal departments, subpoena compliance departments,

                                  17   or court order compliance departments.

                                  18          4.      Defendants Richard Sultanov and Paul Ostling must appear before this Court on

                                  19   January 20, 2017 at 10:00 a.m. in Courtroom 4 at 280 1st St., San Jose, CA 95113 to show cause

                                  20   why a preliminary injunction should not be made and entered under Fed. R. Civ. P. 65 granting the

                                  21   following relief, and that pending the hearing and ruling on Brunswick’s request for a preliminary

                                  22   injunction, the Court issues this Order:

                                  23                  a. restraining and enjoining Defendant Richard Sultanov, and all those acting in

                                  24                      concert or participation with him, from accessing or modifying electronic

                                  25                      devices issued to him by Brunswick, including mobile phones and laptops,

                                  26                      unless otherwise directed by this Court;

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                                   1             b. directing Defendant Richard Sultanov to bring the electronic devices issued to

                                   2                  him by Brunswick, including mobile phones and laptops, to the January 20

                                   3                  hearing and deliver those devices to the Court’s custody;

                                   4             c. restraining and enjoining Defendants, and all those acting in concert or

                                   5                  participation with them from destroying, or disposing any evidence or other

                                   6                  materials, in any form, relating to this action and the issues raised herein,

                                   7                  including, without limitation, all devices, electronic media, cloud storage,

                                   8                  telephones and all copies of any and all documents, media and/or other

                                   9                  materials, containing, identifying, describing, reflecting or referencing

                                  10                  Plaintiffs’ confidential, proprietary, or trade secret information, and any and all

                                  11                  documents, data and information which was obtained by Defendants from, or

                                  12                  by virtue of their employment with Plaintiffs, including all current or archived
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                                  13                  media, emails, chats, texts, documents, electronic logs, metadata, storage,

                                  14                  directories, telephone logs, telephones, computer, laptops, software or

                                  15                  hardware;

                                  16             d.   restraining and enjoining Defendants, and all those acting in concert or

                                  17                  participation with them, from violating their employment agreements,

                                  18                  confidentiality agreements, IT policies, or fiduciary duties, duties of loyalty and

                                  19                  other obligations to Plaintiffs, including without limitation the portions of their

                                  20                  agreements prohibiting the use, disclosure or dissemination of Plaintiffs’

                                  21                  confidential, proprietary or trade secret information, and their fiduciary duties and

                                  22                  duties of loyalty not to use, disclose or disseminate such information; restraining

                                  23                  and enjoining Defendants, and all those acting in concert or participation with

                                  24                  them, from communicating confidential, proprietary or trade secret information to

                                  25                  contractual counterparties of Plaintiffs, including any creditors or related parties, or

                                  26                  otherwise interfering with or injuring relations, goodwill or negotiations with any

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                                   1                     contractual counterparties, including creditors or related parties, or communicating

                                   2                     regarding Plaintiffs’ business or dealings with such parties.

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                                   4          IT IS SO ORDERED.

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                                       Dated: January 6, 2017 at 11:02 a.m.
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                                                                                        ______________________________________
                                   8                                                    EDWARD J. DAVILA
                                                                                        United States District Judge
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